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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                SOUTH BEND DIVISION

 FRANK TILLER,

               Plaintiff,

                      v.                          CAUSE NO. 3:20-CV-700-JD-MGG

 PAUL TALBOT, et al.,

               Defendants.

                                 OPINION AND ORDER

       Frank Tiller, a prisoner without a lawyer, filed a complaint in the United States

District Court for the Southern District of Indiana attempting to raise claims based on

events that occurred in two prisons – Pendleton Correctional Facility in the Southern

District and Miami Correctional Facility here in the Northern District. When the court in

the Southern District reviewed the complaint, it dismissed all of the claims arising out

Pendleton because they were beyond the statute of limitations. It then transferred the

case to this court to address the claims arising at Miami.

       Tiller named nine defendants in his original seven page complaint and spends

most the complaint discussing events which occurred while he was at Pendleton. It is

unclear which defendants are connected to Pendleton and which to Miami. It is unclear

what happened at Miami and how each defendant was personally involved. Tiller

needs to file an amended complaint focusing exclusively on the events and defendants

at Miami. To do so, he needs to place this cause number on a Pro Se 14 (INND Rev.

2/20) Prisoner Complaint form which is available from his prison law library. In the
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amended complaint, he needs clearly identify each defendant and explain how they

were personally involved. He needs to explain what they did or did not do which

makes them financially liable to him for violating his constitutional rights.

       For these reasons, Frank Tiller is granted until September 30, 2020, to file an

amended complaint on the proper form.

       SO ORDERED on August 28, 2020


                                                 /s/JON E. DEGUILIO
                                                 CHIEF JUDGE
                                                 UNITED STATES DISTRICT COURT




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